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6
                          IN THE UNITED STATES DISTRICT COURT
7
8                                FOR THE DISTRICT OF ARIZONA
9    United States of America,                       NO. CR-18-00422-06-PHX-SPL
10
                          Plaintiff,                 DEFENDANT ANDREW PADILLA’S
11   vs.                                             REQUEST FOR STATUS CONFERENCE
12
     6. Andrew Padilla,                              (UNOPPOSED)
13      (Counts 1-51)
14                        Defendant.
15
16          It is expected that excludable delay under 18 U.S.C. § 3161(h)(1)(D) will occur
17
     as a result of this motion or an order based thereon, as explained more fully below.
18
            Defendant Andrew Padilla respectfully requests that this Court set a status conference
19
20   at a date convenient to the Court on or after January 15, 2019, so that defendants can advise

21   the Court as to the status of the case and discuss issues relative to case management.
22
     Defendants have no objection if the status conference is set in conjunction with oral argument
23
     on any pending motions. The parties have agreed to file a status conference report with the
24
25   Court seven days prior to any scheduled status conference.

26          Counsel has discussed this matter with counsel for the co-defendants and Assistant
27   United States Attorney Kevin Rapp who do not oppose the setting of a status conference at
28
     the Court’s scheduling convenience.
 1          RESPECTFULLY SUBMITTED this 21st day of December, 2018.
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                                         PICCARRETA DAVIS KEENAN FIDEL PC
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                                         By:   /s/   Michael L. Piccarreta
4                                                    Michael L. Piccarreta
5                                                    Attorney for Andrew Padilla

6    On December 21, 2018, a PDF version
     of this document was filed with the
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